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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

  POLYBLANK DESIGNS LIMITED,

           Plaintiff,                                             Case No.: 1:20-cv-01389

  v.                                                              Judge Manish S. Shah

  THE PARTNERSHIPS AND UNINCORPORATED                             Magistrate Judge Sunil R. Harjani
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

           Defendants.


                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                     DEFENDANT
                 10                                       Mogyn


DATED: August 7, 2020                         Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      111 West Jackson Boulevard, Suite 1700
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                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 7, 2020 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
